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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT F
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


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825 Beacon Street, Suite 20 | Newton Centre, MA 02459                         Exhibit F to Plaintiff’s First
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com                Amended Complaint
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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
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vgurvits@bostonlawgroup.com                         /s/ Thomas Freedman Jr.
                                                    Thomas Freedman Jr. (OSB No. 080697)
/s/ Sean Ploen                                      Pearl Law LLC
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                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION


CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company,                                      Case No.

     Plaintiff,
                                                            Declaration of Matthew Shayefar
v.                                                                    in Support of
                                                                 Plaintiff’s Complaint
TENZA TRADING LTD.,
a Cyprus company,

     Defendant.


       DECLARATION OF MATTHEW SHAYEFAR IN SUPPORT OF PLAINTIFF’S
                             COMPLAINT

         I, Matthew Shayefar, declare and state as follows:



Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                          Page 1
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                             Shayefar Declaration
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com


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       1.      I am a member of the Bar of the Commonwealth of Massachusetts, a member of

the Bar of the State of California and counsel to Plaintiff Calista Enterprises Ltd. I make this

declaration in support of Plaintiff’s Complaint for Declaratory Judgment, Injunctive Relief and

Trademark Cancellation.

       2.      I represented Calista Enterprises Ltd. in the administrative proceedings of Tenza

Trading Ltd. v. Calista Enterprises Ltd., FA 1303001491515, before the National Arbitration

Forum (the “UDRP Proceedings”).

       3.      Exhibits A, B, C and D of the Complaint are true and correct copies of filings of

the parties in the UDRP Proceedings.

       4.      Exhibit E of the Complaint is the true and correct copy of the decision of the

panel in the UDRP Proceedings.

       5.      Attached hereto as Exhibit 1 is a true and correct copy of an email I sent to

counsel for the Defendant Tenza Trading Ltd. (“Tenza”) on June 18, 2013 notifying Tenza that

Calista intended to file a civil action against Tenza pursuant to 15 U.S.C. § 1114(2)(D)(v).

       6.      As of the date hereof, Tenza has not responded to that notification.



       I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       Executed this 20th day of June, 2013 in Newton Centre, MA.



                                                        /s/ Matthew Shayefar
                                                       Matthew Shayefar




Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                          Page 2
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                             Shayefar Declaration
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                                                                                                   Ex. F - p. 2
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                                                             Exhibit 1

PORNTUBE Settlement terms CONFIDENTIAL
Matthew Shayefar <matt@bostonlawgroup.com>                             Tue, Jun 18, 2013 at 3:31 PM
To: "Anna M. Vradenburgh" <amv@eclipsegrp.com>
Cc: "Stacey L. Messina" <slm@eclipsegrp.com>, Val Gurvits <vgurvits@bostonlawgroup.com>

 Dear Anna,

 My client is still reviewing the terms you forwarded. However, although I am sure you already know
 this, I must make it explicit pursuant to 15 U.S.C. § 1114(2)(D)(v) that in case the parties cannot
 settle their dispute, we will be filing suit on behalf of Calista against Tenza to establish that Calista's
 registration and use of the disputed domains (and the "porn tube" term in general) are not unlawful
 and to prevent the transfer of the domains pursuant to the UDRP proceedings.

 I would appreciate confirmation that you've received this notice and I look forward to speaking with
 you about this matter soon.

 Very Truly Yours,


 Matthew Shayefar

 Boston Law Group, PC
 825 Beacon Street, Suite 20 | Newton Centre, MA 02459
 Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
 matt@bostonlawgroup.com
 ---------------------------------------------------------------------------
 The contents of this message and any attachments are confidential and intended only for the addressee(s). This message may also be
 subject to attorney-client privilege. If you received this message in error, please notify Boston Law Group, PC immediately and destroy
 the original message. Boston Law Group, PC | Tel: (617) 928-1800 | E-mail: info@bostonlawgroup.com




                                                                                                                                     Ex. F - p. 3
